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12   dba LA TAPATIA MEXICAN   I
     RESTAURANT & CANTNA
13   CONCORD; FRED R. DOSTER 2003 TRUST
14                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
15
16   JAMES LLEWELLYN,                              Case No. 4:20-cv-08424-HSG
                                                   Civil Rights
17          Plaintiff,
                                                   CONSENT DECREE AND ORDER FOR
18          V.                                     INJUNCTIVE RELIEF FOR
                                                   INJUNCTIVE RELIEF, DAMAGES, AND
19   AZTECA GOLDEN PARTNERS, INC.                  ATTORNEY FEES, LITIGATION
     dba LA TAPATIA MEXICAN                        EXPENSES, AND COSTS
20   RESTAURANT & CANTINA
     CONCORD; FRED R. DOSTER 2003                 Action Filed: November 30, 2020
21   TRUST,
22          Defendants.
23
24          1.       Plaintiff JAMES LLEWELLYN filed a Complaint in this action on November
25   30, 2020, to enforce provisions of the Americans with Disabilities Act of 1990 ("ADA"), 42
26   U.S.C. §§ 12101 et seq., and California civil rights laws and to obtain recovery of damages
27   for discriminatory experiences, denial of access, and denial of civil rights against Defendants
28   AZTECA GOLDEN PARTNERS, INC. dba LA TAPATIA MEXICAN RESTAURANT &


     CONSENT DECREE AND [PROPOSED)
                         XXXXXXORDER
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 1   Consent Decree and Order, shall be enforceable regarding the matters of injunctive relief
 2   described herein.
 3
 4   CONSENT DECREE AND ORDER BINDING ON PARTIES AND SUCCESSORS IN
     INTEREST:
 5
 6           9.       This Consent Decree and Order shall be binding on Plaintiff, Defendants, and
 7   any successors-in-interest. Defendants have a duty to so notify all such successors-in-interest
 8   of the existence and terms ofthis Consent Decree and Order during the period of the Court's
 9   jurisdiction of this Consent Decree and Order.
10
                                      A
11   MUTUAL RELEASE AND WIVER OF CIVIL CODE SECTION 1542:
12           10.      Each of the Parties to this Consent Decree and Order understands and agrees
13   that there is a risk and possibility that, subsequent to the execution of this Consent Decree
14   and Order, any or all of them will incur, suffer, or experience some further loss or damage
15   with respect to the lawsuit that is unknown or unanticipated at the time this Consent Decree
16   and Order is signed. Except for all obligations required in this Consent Decree and Order, the
17   Parties intend that this Consent Decree and Order apply to all such further loss with respect
18   to the lawsuit, except those caused by the Parties subsequent to the execution of this Consent
19   Decree and Order. Therefore, except for all obligations required in this Consent Decree and
20   Order, this Consent Decree and Order shall apply to and cover any and all claims, demands,
21   actions, and causes of action by the Parties to this Consent Decree with respect to the lawsuit,
22   whether the same are known, unknown, or hereafter discovered or ascertained, and the
23   provisions of Section 1542 of the California Civil Code are hereby expressly waived. Section
24   1542 provides as follows:
25           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
             TBAT THE CREDITOR OR RELEASING PARTY DOES NOT
26           KNOW OR SUSPECT TO EXIST IN ms OR HER FAVOR AT
             THE TIME OF EXECUTING THE RELEASE AND THAT, IF
27           KNOWN BY IDM OR HER, WOULD HAVE MATERIALLY
             AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
28           OR RELEASED PARTY.
                                                    -5-
     CONSENT DECREE AND ORDER
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 1           11.     Except for all obligations required in this Consent Decree and Order each of the
 2   Parties to this Consent Decree and Order, on behalf of each, their respective agents,
 3   representatives, predecessors, successors, heirs, partners, and assigns, releases and forever
 4   discharges each other Party and all officers, directors, shareholders, subsidiaries, joint venturers,
 5   stockholders, partners, parent companies, employees, agents, attorneys, insurance carriers, heirs,
 6   predecessors, and representatives of each other Party, from all claims, demands, actions, and
 7   causes of action of whatever kind or nature, presently known or unknown, arising out of or in
 8   any way connected with the lawsuit.
 9
10   TERM OF THE CONSENT DECREE AND ORDER:
11           12.     This Consent Decree and Order shall be in full force and effect for a period of
12   eighteen (18) months after the date of entry of this Consent Decree and Order by the Court.
13
14   SEVERABILITY:
15           13.     If any term of this Consent Decree and Order is determined by any court to be
16   unenforceable, the other terms of this Consent Decree and Order shall nonetheless remain in
17   full force and effect.
18
19   SIGNATORIES BIND PARTIES:
20           14.     Signatories on the behalf of the Parties represent that they are authorized to
21   bind the Parties to this Consent Decree and Order. This Consent Decree and Order may be
22   signed in counterparts and a facsimile signature shall have the same force and effect as an
23   original signature.
24                            END OF PAGE.
        SIGNATURES CONTINUE ON THE NEXT PAGE AND ORDER IS AT THE
25                       END OF THE DOCUMENT.
26
27
28
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                                               ORDER
 1
             Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
 2
 3   Dated: 1/4/2021
 4                                             Honorable Haywood S. Gilliam, Jr.
                                               U.S. District Court Judge
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     CONSENT DECREE AND ORDER
